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                       UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF TEXAS - FORT WORTH DIVISION

JOSEPH FRIEDHEIM,                                    §
IASMIN FRIEDHEIM, and                                §
JF SOLUTIONS LTD.,                                   §
     Plaintiffs/Counter-Defendants                   §
                                                     §
v.                                                   §                  Civil Action No. 4:20-cv-335
                                                     §
THOMAS HOEBER and                                    §
   Defendants/Counter-Plaintiffs                     §
HÖEBER MEDIA, LLC,                                   §
    Intervenor                                       §

       AGREED MOTION TO EXTEND TIME TO RESPOND TO INTERVENOR’S
                          ORIGINAL PETITION

        COMES NOW Plaintiffs/Counter-Defendants Joseph Friedheim, Iasmin Friedheim, and

JF Solutions Ltd. (collectively, “JFS”) and Defendant/Counter-Plaintiff Thomas Hoeber

(“Hoeber”) and Intervenor Höeber Media, LLC (“Media”) filing this, their Agreed Motion to

Extend the Deadline for Plaintiffs/Counter-Defendants to file their Answer to Intervenor’s

Original Complaint pursuant to Rules 13 and 15(a)(2) of the Federal Rules of Civil Procedure.

1.      On July 27, 2020, parties discussed the schedule of this case and determined that an

extension of the deadline for Plaintiffs/Counter-Defendants JFS to answer Intervenor Media’s

Original Complaint is reasonable and works to efficiently conserve judicial resources.

2.      Media originally filed its Intervenor’s Original Complaint on July 7, 2020, thereby setting

the deadline for JFS’s answer to July 28, 2020.

3.      Parties agree to a two-week extension for JFS to answer Media’s complaint, resetting the

deadline to August 10, 2020 in accordance with Federal Rule of Civil Procedure 15(a)(2).

4.      Additionally, parties agreed that JFS will file a Second Amended Petition in which JFS’s

counterclaims to Media are made, also by August 10, 2020.


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5.      Lastly, parties agreed that neither Hoeber nor Media need respond to JFS’s First

Amended Petition filed July 16, 2020, but can wait to answer JFS’s Second Amended Petition.

        WHEREFORE, PREMISES CONSIDERED, parties respectfully request that this Court

enter an order extending the deadline for JFS to file its answer to Intervenor’s Original

Complaint, and that the Court grant all other relief to which the parties are entitled.



Respectfully submitted,

/s/Warren V. Norred
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CERTIFICATE OF SERVICE - I certify that this Motion was served on all parties seeking
service in the instant case via the Court’s ECF system.

/s/Warren V. Norred
Warren V. Norred, Bar No. 24045094




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